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                     IN THE UNITED STATES DISTRICT COURT
                                                                                8/3
                                                                      . BRUTO    N
                                                            THOMA.SDG
            FOR THE NORTHERN DISTRICT OF ILINOIS, EASTERN DIVISION  IS T R IC T COURT
                                                            RK, U.S       CLE

RACHEL M. HUBBARD                                    )
                                                     )
       Plaintiff pro se                              )      Case No.: 1:20-cv-06680
                                                     )
       v.                                            )      Judge Edmond E. Chang
                                                     )
GASPEREC ELBERTS                                     )      Magistrate Judge Susan E, Cox
CONSULTING, LLC                                      )
                                                     )
       Defendant                                     )


                              PLAINTIFF’S REPLY TO
                     DEFENDANT’S RESPONSE IN OPPOSITION TO
                      PLAINTIFF’S MOTION FOR LEAVE TO FILE
                      AMENDED COMPLAINT AND ADD PARTIES



Plaintiff pro se, Rachel M. Hubbard (“Plaintiff” or “Plaintiff pro se”), in Response to Gasperec

Elberts Consulting LLC, (“GEC”) Response in Opposition to Plaintiff’s Motion For Leave to

File Amended Complaint and Add Parties respectfully states as follows:



Please Note: Plaintiff acknowledges her filing is a day late and states she has been working

diligently on her Response and has spent every night after work doing so since receiving

Defendant’s Brief on August 16, 2021. Plaintiff worked non-stop since Sunday night to reduce

the number of pages and provide as much clarity as possible and just finished just moments ago.




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                                                   I
                                  PURPOSE AND TIMING OF
                   PLAINTIFF’S PROPOSED AMENDED COMPLAINTT



       When Plaintiff filed her Motion For Leave to File her Amended Complaint, Plaintiff

believed it would be addressed by the Magistrate, Judge Cox who would be able to extend the

discovery dates. This was apparent to Judge Cox and she commented on it during the telephonic

hearing on July 27, 2021, regarding Plaintiff’s Motion to Extend Discovery dates. (Dock. #56)

Plaintiff misunderstood the transfer of the case from District Judge to the Magistrate Judge and

the extent of her supervision. Since discovery began, Plaintiff has had to reduce her work hours

in order to research and file her Motions. Plaintiff spent a considerable amount of time to draft

her Proposed Complaint as evidenced by the number of pages. Plaintiff did not sit on her hands

and wait to cause any undo delay. Each day during the last two weeks Plaintiff has spent every

available moment outside of work to draft her Response to Defendant’s Brief working well into

the night. Plaintiff argues she has not caused undue delay or acted in bad faith. Defendant has

known since the Parties served their Initial Disclosure, Plaintiff’s allegations and it would be

disingenuous for GEC’s attorneys to pretend otherwise. Defendant’s summary of the evidence

Plaintiff has gathered in not based in reality. Surely, if Plaintiff were just conducting a fishing

expedition, as Defendant’s claim, no reasonable attorney would just sit idly by and allow such

behavior and the Court should consider this during its review of Plaintiff’s Proposed Amended

Complaint.

       The facts presented in Plaintiff’s Amended Complaint, are worthy to be considered and

Plaintiff argues the particulars of this case are of public concern. It would be reasonable for the

Court to consider her Amended Complaint based on the individual facts and not in a nutshell, as

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Defendant’s attorneys desire. This Court’s consideration of the Proposed Defendants and the

facts should be treated separately. The Court should also consider the alleged collective behavior

of the Proposed Defendants and the behavior of GEC and its individual owners separately

because had they not provided false information to the City of Chicago regarding its affiliates

and the involvement of Mackie in particular, Plaintiff would not be able to raise what she

believes to be public concerns. The FOIA documents that Plaintiff received are public and were

obtained because of genuine concerns of fraud. At the time, Plaintiff did not even know she was

being paid less than her male comparator, and thus, had no other motive for seeking them. When

Plaintiff filed her Charge with the EEOC she had an in-person interview which allowed her to

address her unequal pay claims. She also provided her written Response to GEC’s Position

statement and described as best she could the circumstances and involvement of the Proposed

Defendants. Defendant’s attempt to frame Plaintiff’s Proposed Amended Complaint as an

expansion or an effort to harass is unfounded and is not supported by the facts. At the time,

Plaintiff lacked any meaningful knowledge of Title VII or its relevance to her subsequent

Complaint. After Plaintiff filed her Complaint Defendants took deliberate steps to change their

corporate structure and create the appearance of separation between them and GEC. It is not

reasonable to believe that GEC would end its participation in the Proposed Defendant’s health

plan, 401(k), and the numerous other shared activities immediately after Plaintiff filed her

Complaint if it was in fact innocent. The timing is suspect and does not make sense for financial

reasons. However, it makes perfect sense for liability reasons.

       Discovery has been exhaustive but has also been extremely productive. The witnesses

have tried to align their denials but have also provided contradictory testimony. Plaintiff has

been able to impeach several of the witnesses and has been able to determine their shifting

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defenses. Plaintiff has obtained relevant facts and supportive documents to support her single

employer allegation and asks the Court to grant her Motion to Amend her Complaint for the

purpose of adding relevant facts and to add the Proposed Defendants.

       The Seventh Circuit has elaborated that amendments should be allowed “unless there is

good reason—futility, undue delay, undue prejudice, or bad faith—for denying leave to amend.”

Life Plans, Inc. v. Sec. Life of Denver Ins. Co., 800 F.3d 343, 358 (7th Cir. 2015).

                                                 II

                        PLAINTIFF’S CLAIM THAT DEFENDANTS
                ACTED AS ONE EMPLOYER IS A NOT A NEW THEORY
                                    AND IS BASED IN FACT


       Starting from the time Plaintiff learned of the CAD position she eventually held with

GEC, the Proposed Defendants were involved. From recruitment, interview, hire, during her

employment and after her employment, The Burke Group, Mackie and CBBEL were involved.

There is absolutely no evidence that Plaintiff made up an elaborate theory to simply accuse,

harass or embarrass the Proposed Defendants. Plaintiff’s resume shows that she worked for a

minority owned firm before and from the time Plaintiff was notified by her recruiter who she was

interviewing with, she knew something was starkly different from every other job she held.

       Plaintiff was the only employee who did not originate from any other the proposed

Defendant companies and saw first-hand how they worked together to support GEC. Plaintiff

thought it strange how everyone clearly had established relationships and seem to operate under

a set of unwritten rules which was never provided or shared with Plaintiff. They acted boldly and

never sought to hide their collective efforts in the office. GEC never established any rules of its

own, and Plaintiff believes they thought she either did not care or that Plaintiff would just go

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along with their collective efforts. It has taken almost four years for Plaintiff to understand their

elaborate scheme and believes it should serve as a case study for certifying agencies who oversee

these programs. This case is not about revenge and Defendant cannot put forth any argument

based in fact, that Plaintiff was acting in bad faith. GEC relied upon The Burke Group, Mackie

and CBBEL for everything. Megan Elberts reliance on her family’s companies was clear and has

never been based on a theory. The Proposed Defendants can blame no one except themselves

because they did not operate at arm’s length, and did not respect corporate formalities. However,

the potential rewards from having a stake in a certified minority and disadvantaged-owned firm

are exceedingly great and motivates some to ignore the risks. The Proposed Defendants are

solely responsible for this case and cannot look to anyone else for blame.

           The Court should not be fooled into thinking that the Proposed Defendants do not bear

any responsibility for this case and should reject their conclusionary arguments that are not based

in fact.

                                                  III
           DEFENDANT’S CLAIM THAT PLAINTIFF’S PROPOSED AMENDMENT
       ASSERTS AN ADDITIONAL RETALIATION THEORY UNDER COUNT IV
    THAT DID NOT OCCUR IN “VERY CLOSE” TIMING IS FACTUALLY FALSE



           GEC, in its response, did not deny that Plaintiff provided evidence that she reported GEC

and the proposed Defendants for what she believed to be WBE\DBE fraud. GEC also cannot

deny that Plaintiff raised these concerns with the EEOC. GEC also cannot deny that she

identified Martin Burke, Christopher Burke, The Burke Group in her position statement to the

EEOC. Instead, Defendant argues that the theory of alleged events occurred more than a year

from the time Plaintiff alleges the ultimate adverse employment action occurred. However,

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Plaintiff’s existing Complaint Count IV and her proposed Amended Complaint Count IV repeats

and re-alleges paragraphs 1-33 and 1-66, respectively. Plaintiff argues the first retaliatory

adverse employment action took place on September 18, 2018, when Megan Elberts drafted and

presented Ilir Schtembari’s offer letter for the same position Plaintiff held at a higher rate of pay,

and he accepted. This was one day after September 17, 2018, when Plaintiff received the email

invite for the WBE\DBE meeting with Maura Downs. More specifically, according to the City of

Chicago Procurement Services FOIA Log on August 8, 2018, the City of Chicago received the

FOIA regarding GEC. Sometime in August 2018, GEC’s attorneys at Taft Stettinius & Hollister

LLP (“Taft”) received the FOIA request. Their response was due by August 28, 2018. (Exhibit

A1: PPS1556-PPS1557 - Chicago Procurement Services FOIA log). In the interim, Defendant

prepared its response to the FOIA request. On September 17, 2018, Plaintiff received the email

invite from Megan Elberts for the WBE\DBE meeting with GEC’s WBE\DBE legal team

representative, Maura Downs. Plaintiff immediately knew that GEC had received the FOIA

request. (Exhibit B1: PPS1588 – GEC’s WBE\DBE Email Invite - Excluded) On the same

day, Defendant interviewed Ilir Schtembari for the CAD position he eventually held. (Exhibit

C1: GEC0170-GEC0171 – Recruiter’s emails – Subject to PO) On September 18, 2018,

Megan Elberts drafted and presented Ilir Schtembari’s offer letter to his recruiters at Michael

Page. Ilir verbally accepted the offer letter the same day. The offer letter is dated September 18,

2018 and signed by Megan Elberts and Ilir Schtembari. (Exhibit D1: GEC0172 – Ilir’s signed

Offer Letter – Subject to PO) The offer letter was essentially identical to Plaintiff’s offer letter

but offered to pay Ilir more than. Plaintiff also notes there was no mention of any Microstation,

CAD Tech II, IDOT, Tollway, or 3-D skills or experience in Ilir’s offer letter or in any of the

verified reference documents provided by his recruiter. (Exhibit D1: GEC0172 - Ilir’s Signed

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Offer Letter – Subject to PO) (Exhibit E1: GEC0170-GEC0171 – Ilir’s Recruiter emails

– Subject to PO) (Exhibit F1: GEC0174-GEC0176 – Ilir’s Recruiter’s Reference Check

Forms – Subject to PO) On September 25, 2018, Plaintiff met with Maura Downs who is part

of the WBE\DBE legal team from Taft, per Megan Elbert’s email invite. During that meeting we

were warned not to say we worked for the proposed Defendant businesses and don’t say

anything that we wouldn’t want to say to Megan or Lisa’s face. Immediately after the meeting

Ms. Downs asked Plaintiff if she knew Ms. Jackson, the attorney that sent the FOIA on

Plaintiff’s behalf. On September 27, 2018, Plaintiff received GEC’s response to the FOIA. On

October 8, 2018, Ilir Schtembari began his employment as CAD Technician. Plaintiff argues this

was Ilir’s start date and not his date of hire, which occurred on September 18, 2018. Plaintiff

alleges the FOIA was the underlying reason why Defendant sought to hire Ilir Schtembari.

       Plaintiff argues the act of retaliation is not limited to termination or acts meant to force an

employee to resign. Retaliation also includes transferring the employee to a less desirable

position. During Megan Elbert’s deposition on May 18, 2021, Plaintiff asked, “Ms. Elbert(‘)s,

Have you ever alleged Plaintiff was hired as a CAD Tech II?” Ms. Elberts: “As we reviewed last

time on your offer letter, the offer was for a CADD technician. At the time, we did not have

multiple levels of CADD technicians, in August 2017?” (Exhibit G1: Elbert’s Dep. May 18,

2018 (Signed) - Pg. 8 - Lines 4-6) Following this exchange, Ms. Elberts admitted for the first

time that GEC did bill Plaintiff at the CAD Tech II rate but tried to assert a but for mistake claim

to explain the pretextual reason. (Exhibit H1: Ebert’s Dep. May 18, 2018 (Signed) - Pgs. 20-

21, Lines 3-25 & 1-6)




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         However, this explanation too was pretextual, contradicted by Russell Olsen and other

forms of documentary evidence (Emails & Plaintiff’s New Employee docs.) explanation(s) for

his hire are provided in the following paragraph. Plaintiff argues any Trier of fact could conclude

Defendant’s true motives for his hire could be related to Plaintiff’s first protected activity.

Plaintiff does not merely allege very close timing of these events, but she also has produced

supportive documentary evidence that confirm these events occurred on the dates contained

herein

                                                  IV
                        DEFENDANTS SHOULD NOT BE GRANTED
                              SMALL EMPLOYER EXEMPTION

         In support of this claim GEC cites Prince v. Appleton Auto, LLC, 978 F. 3d 530, 534 (7th

Cir. 2020); and Papa v. Katy Indus., Inc., 166 F.3d 937, 941 (7th Cir. 1999). In both cases the

Courts determined that integration alone was not enough to pierce the corporate veil. In the

current case, Plaintiff not only argues that the proposed Defendants integrated their operations,

but also that GEC, as a WBE and DBE certified firm, was (and is) restricted from doing so in the

manner envisioned by the small employer doctrine. The common llc and corporate formalities

are a given but should be seen through the lens of GEC’s actual corporate structure. The legal

and corporate formalities for a WBE certified firm are restrictive, are in addition to those of a

non-certified firm and are governed by the City of Chicago’s Procurement Office. (“CCPO”)

Likewise, the legal and corporate formalities for a DBE firm are governed by Regulation 49 CFR

Part 26. Not only are there business size restrictions, but there are individual and business

income and gross receipt limits. These regulations and the duties of each participating owner and

business are ongoing and require independence and control of the certified firm and each


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individual owner. These regulations do not just apply to the certified business and individual

owners, but also to its affiliates. Both regulations require disclosure of affiliates and GEC never

CBBEL or Mackie as such. Neither of these regulations allow certified firms to share employees

or equipment and require full disclosure. When Lisa Gasperec and Megan Elberts certified under

penalty of perjury that their statements were true and correct to the best of their knowledge, they

were bound to abide by these rules. Likewise, when they received their DBE certifications from

the City of Chicago on September 12, 2017, they agreed to abide by those rules as well. Their

applications covered not only their status at the time, but also included a 5-year lookback. In

addition, the importance of obtaining access to municipal, state, and federal contracts is no secret

and should not be understated. Megan Elberts was asked specifically about GEC’s “relationship

with Mackie as part of its certification application and she certified, “The relationship between

GEC and Mackie is a business relationship. Mackie does not provide any service to GEC. GEC

does not share space, employees, equipment(,) or any other resource with Mackie. GEC does not

have any common ownership or common management with Mackie. GEC does not have any

leasing relationships with Mackie. There have been times when GEC and Mackie worked for the

same client. Any time that has happened the work was done entirely by each company’s

respective employees and worked done by GEC has been at my sole discretion.” Not only did

Plaintiff produce GEC’s shared work schedule which showed Michael Dawson and other Mackie

employees performed GEC’s work for the same client, Plaintiff’s supervisor, Russell Olsen

testified during his deposition on July 13, 2021, “… he (Tarik) was doing, and along with Mike

Dawson was doing work. We were overloaded. We had one person drawing – yeah.” (Exhibit I1:

Olsen Dep. July 13, 2021 (Refused to sign)– Pages 60-61)




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                                                V
                   PLAINTIFF’S PROPOSED AMENDED COMPLAINT
                        ASSERTS THE PROPOSED DEFENDANTS
              DID MORE THAN JUST INTEGRATE THEIR OPERATIONS
       Defendant’s response to Plaintiff’s Proposed Amended Complaint essentially seeks to

dismiss Plaintiff’s allegations against the Proposed Defendants as if to say, so what. However,

documentary evidence shows the Proposed Defendants did much more than just integrate or just

participate in a multi-employer plan. The documentary evidence produced during discovery

shows that the multi-employer plan was only for 401(k) and health benefits and nothing more.

Defendant never produced any documentary evidence to support their claim that the multi-

employer plan covered anything else. Throughout discovery the witnesses attempted to provide

cover for GEC and distance from Mackie and CBBEL, and offered contradictory testimony

during their depositions, and on several occasions, perjured themselves.

       Despite GEC’s attorneys claim that Mackie and CBBEL were simply affiliates of GEC,

there is no documentary evidence or witness testimony that shows they ever publicly

acknowledged themselves as affiliates. GEC has never been showcased on Mackie or CBBEL’s

websites and they were never identified as affiliates in any way. The Court should not be

swayed by this claim as it is not supported by the evidence.

       In fact, Megan Elberts testified, and the documentary evidence shows that after Plaintiff

filed her Complaint in Federal Court, GEC ended their participation in the multi-employer plan

and established their own 401(k) plan for the first time. Days before Christmas shared employees

of CBBEL and Mackie, along with GEC, attempted to remove Plaintiff from The Burke Group

401(k). Not until Plaintiff threatened to file an emergency motion, did they withdraw their

demands that Plaintiff transfer her assets to GEC’s 401(k) plan. GEC did not attempt to force any

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other former GEC employee out of The Burke Group Plan and Plaintiff’s former supervisor

testified he remained in The Burke Group’s Plan despite ending his employment earlier this year.

       Plaintiff argues that under state and federal law, and more specifically, under Title VII,

retaliation is not limited to discharge and Defendant’s argument that Plaintiff must show that the

alleged events should relate to only one form of retaliation is incorrect. The focus of a Title VII

retaliation claim is an adverse employment action, such as, but not limited to, firing, demotion,

or reduction in pay. In the case of Collins v. State of Illinois, the Court determined, "Adverse job

action is not limited solely to loss or reduction of pay or monetary benefits. It can encompass

other forms of adversity as well." (Collins v. State of Illinois, 830 F.2d 692, 703 (7th Cir.1987)).

In the current case, Plaintiff alleges that after she raised her claim of unequal pay, Defendant, for

the first time, sought to draw a distinction between Plaintiff’s position and that of Ilir’s by

claiming he was hired as a CAD Tech II and Plaintiff was hired as a CAD Tech I. This

essentially, acted as a demotion evidenced by a less distinguished title. None of the witnesses

during their depositions supported this claim and no documentary evidence has been produced to

show that Plaintiff was hired as a CAD Tech I or that Ilir was hired as a CAD Tech II. Plaintiff

and Ilir’s former supervisor, Russell Olsen, testified during his deposition on July 13, 2021, the

following. Plaintiff: “Okay. And do you know who was CAD tech 2 …” Mr. Olsen: “No, I don't

know. I really never did know that.” (Exhibit J: Olsen Dep. (Refused to sign) - July 13, 2021,

Pgs. 223-224, Lines 20-25 & 1-5) Additionally, Plaintiff asked Megan Elberts during her

deposition the following, “Can you tell me whether -- did you ever present a description in

written form or otherwise of the exact position that I interviewed for?” Ms. Elberts: “I do not

believe so. As I stated earlier, we were a young company. We did not have hiring procedures in

place. I do not believe we had formalized job descriptions at the time. Plaintiff argues absolutely

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no job descriptions were ever produced during her employment or during discovery and a Trier

of fact could find that the distinctions did not exist, were irrelevant or did not relate to any job

description. Plaintiff alleges GEC’s decision to pay her male comparator more for the same

position she held was the beginning of GEC’s adverse employment actions. The reasons given

are pretextual, was retaliatory, and it has not provided any non-discriminatory reason for these

adverse employment actions. In the case of Crady v. "A materially adverse change might be

indicated by a termination of employment, a demotion evidenced by a decrease in wage or

salary, a less distinguished title, a material loss of benefits, significantly diminished material

responsibilities, or other indices that might be unique to a particular situation. In the current

case, GEC’s proffered reasons for Ilir’s hire and his pay have been disputed. Both sets of reasons

have been disputed by the evidence. In addition, when GEC hired Ilir, it was in close proximity

to Plaintiff’s first protected activity. It was only after Plaintiff raised her that GEC provided

pretextual reasons for Ilir’s hire which all point to the date Ilir was hired and have been proven

false.

                    PLAINTIFF’S PROPOSED AMENDED COMPLAINT
                              WOULD NOT CAUSE PREJUDICE



         Plaintiff’s Amended Complaint would not cause prejudice to GEC because these issues

are not new. Plaintiff did raise these issues with the EEOC as evidenced by her written Response

to GEC’s Position Statement. It is not reasonable to conclude that these allegations were not

known to each of the Proposed Defendants. Not only did they operate a closely held owned

consortium of engineering companies, but the owners are all family members. Plaintiff has never

wavered from this position and described them as one employer. Even during Plaintiff’s



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employment, when Plaintiff’s former attorney, Douglas Werman, sent his demand letter, it was

addressed to Carl Yudell, who is not only the Registered Agent GEC, but also the Registered

Agent for most of The Burke Group’s member companies, including Mackie and companies

owned by Christopher Burke. It would be unreasonable to conclude that they were unaware of

the demand letter, Martin Burke testified during his deposition that he was aware of the legal

dispute between Plaintiff and GEC prior to him receiving a subpoena for his deposition because

Megan Elberts told him. (Exhibit K1: Martin Burke Dep. (Refused to sign) – June 24, 2021,

Pg. 7-8, Lines 17-25 and 1-9) Although Mr. Burke claimed he did not know of the Complaint at

the time it was filed, a Trier of fact could conclude it would seem implausible that he did not

know about Plaintiff’s claims. Additionally, based on Megan Elberts and Trudy Buehler’s

testimony and their dependance on Martin Burke as their “mentor” a Trier of fact could also

conclude that Megan Elbert’s family knew about Plaintiff’s claims, her EEOC charge, and her

current Complaint. Even when Plaintiff attempted to serve Martin Burke and the Mackie

employees subpoenas for their depositions, Martin Burke testified that he received the subpoenas

even before Plaintiff was able to serve them. Throughout every step, GEC and the Proposed

Defendants caused Plaintiff to spend unnecessary time and resources to serve them only to find

they had the subpoenas all along.

       GEC’s claim that it would be extremely prejudiced is not an argument made in good

faith. GEC cannot claim that it was unaware of these allegations or that it was unaware of

Plaintiff’s argument that these companies acted as one because each witness was identified, and

Plaintiff gave proper notice in her Initial Disclosures regarding the subject matter. (Exhibit L:

Plaintiff’s Initial Disclosures in Relevant Part) GEC’s claim that it would have to start all over

is just factually untrue. GEC has had the ability to investigate and challenge Plaintiff’s claims

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during discovery but chose to obstruct Plaintiff’s ability to explore these topics with every

interrogatory and witness. In addition, GEC claim that Plaintiff was on a fishing expedition is

odd given that GEC never filed a Motion to Quash or limit the scope of Plaintiff’s subpoenas.

Despite these obstacles, Plaintiff was successful in obtaining admissions to support her claims.

GEC’s claim that she did not seek to depose CBBEL or Christopher Burke is also false. Plaintiff

did file a Motion to Extend Discovery and the Magistrate properly construed Plaintiff’s request

not only to allow Cristopher Burke to be served but to allow him to participate in limited

discovery if needed. (Dock. #) In addition, Both Martin Burke and Christopher Burke are part

owners of Mackie and

       GEC’s declaration that it is prepared for summary judgement is somewhat aspirational

and its path is not as clear cut as it would like the Court to believe. Megan Elberts testified

during her deposition that she was told there was a verbal agreement. Not only was this not

truthful, but GEC knew it. The theory was merely a strategy to claim a verbal agreement and was

crafted and presented by GEC after Plaintiff filed her Complaint based on an overzealous

attorney, Keith Hunt whom GEC never presented during discovery. If the Court recalls, on

December 11, 2020, the Court took note of their claim made its Minute Entry which essentially

presented GEC the opportunity to file an early summary judgment motion if it believed that an

enforceable verbal settlement agreement was entered into by the parties. (Dock #14) Defendant

has maintained this claim for over 8 months knowing their claim was false. With tactics

like these, the Court should reject Defendant’s claims of undue prejudice and delay as

Plaintiff has had to exhaust valuable limited resources to dispute claims that were never

true. Plaintiff asks that the Court consider each of these factors in its decision.



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                                          CONCLUSION


       GEC has known of Plaintiff’s claims since Initial Disclosures. In addition, considering

the shared goals, shared activities, and shared legal representatives of the Proposed Defendants,

it would be implausible for any Trier of fact to believe the Proposed Defendants did not know of

Plaintiff’s claims, and should have known and anticipated Plaintiff’s Complaint and their

inclusion. Plaintiff asks this Court to consider her Motion and the Proposed Defendants

separately and take into consideration the public concerns that are implicated based on the facts

she has presented. GEC has provided numerous contradictory statements and shifting defenses to

her former attorney, Douglas Werman, to the EEOC, and to this Court regarding Plaintiff’s hire,

her pay, her male comparator’s hire, and the circumstances regarding the end of Plaintiff’s

employment. Plaintiff’s primary goal has always been to bring these inconsistencies to the

Court’s attention as well as the underlying motives for their adverse employment action. Plaintiff

argues her claims are based in fact and are not based on a theory that she magically developed

overnight. It is plausible that an analysis of the facts could lead a Trier fact to conclude the

underlying motives were directly related to Count I which are repeated and realleged in Count

IV. In the case of Burton v. Freescale Semiconductor, Inc. 798 F.3d 222, 239-40 (5th Cir. 2015)

(the Court held that a jury may view “Erroneous statements in [an] EEOC position statement” as

“circumstantial evidence of discrimination.”); McInnis v. Alamo Comm. College Dist., 207 F.3d

276, 283 (5th Cir. 2000) (summary judgment was reversed which had been entered for the

employer in a discrimination case partially because the employer’s report to the EEOC

“contained false statements. . . .”). In the case of Miller v. Raytheon Co., 716 F.3d 138 (5th Cir.

2013). A jury verdict was affirmed in an age discrimination case partially because “[a]t trial,



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PPS1556
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 1                   THE UNITED STATES DISTRICT COURT

 2         NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 3   ________________________________

 4   RACHEL M. HUBBARD,

 5                Plaintiff,

 6           v.                                         Case No:

 7   GASPEREC ELBERTS CONSULTING, LLC,                  1:20-cv-06680

 8                Defendant.

 9   ________________________________

10                VIDEOTAPED DEPOSITION OF MEGAN ELBERTS

11   DATE:               Tuesday, May 18, 2021

12   TIME:               2:03 p.m.

13   REPORTED BY:       Danielle Sargis, CER-1017

14   JOB No.:            6121

15

16   Conducted by videoconference via the Remote Legal

17   platform

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                                     646-461-3400
 Case: 1:20-cv-06680 Document #: 61 Filed: 08/31/21 Page 19 of 29 PageID #:586


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 1                          A P P E A R A N C E S

 2   ON BEHALF OF PLAINTIFF:

 3          RACHEL M. HUBBARD, PRO SE

 4

 5   ON BEHALF OF DEFENDANT:

 6          VICTORIA VANDERSCHAAF, ESQUIRE

 7          Litchfield Cavo LLP

 8          303 West Madison Street, Suite 300

 9          Chicago, Illinois 60606

10          vanderschaaf@litchfieldcavo.com

11          (312)781-6686

12

13          KEARNEY W. KILENS, ESQUIRE

14          Litchfield Cavo LLP

15          303 West Madison Street, Suite 300

16          Chicago, Illinois 60606

17          kilens@litchfieldcavo.com

18          (312)781-6630

19

20   ALSO PRESENT:

21          Lance Zacker, Remote Legal

22          Laurie DePalma, Notary Public

23

24

25



                                     646-461-3400
 Case: 1:20-cv-06680 Document #: 61 Filed: 08/31/21 Page 20 of 29 PageID #:587


                              MEGAN ELBERTS - May 18, 2021                  8

 1   attorneys, or representatives alleged that I was hired

 2   as a CADD Tech I in the complaint?

 3                        MS. VANDERSCHAAF:      Objection.     Form.

 4   BY MS. HUBBARD:

 5          Q     Miss Elbert's, have you ever alleged that I

 6   was hired as a CADD Tech I?

 7          A     As we reviewed last time on your offer letter,

 8   the offer was for a CADD technician.             At the time, we

 9   did not have multiple levels of CADD technicians, in

10   August 2017.

11          Q     Okay.    So if the clerk could pull up the

12   exhibit that I have loaded, that is called "Complaint"

13   you'll see Docket 01 Complaints.            If they could post up

14   for everyone to see, please?

15                        THE DIGITAL REPORTER:       Give me just one

16   moment.

17                        MS. HUBBARD:    Yes.

18   BY MS. HUBBARD:

19          Q     While she's doing that, Ms. Elberts, have you

20   ever -- has GEC ever billed me at a CADD Tech II rate?

21          A     Due to a clerical error?          Yes.

22          Q     Ms. Elberts did that --

23   BY MS. HUBBARD:

24          Q     -- that clerical error just happened one

25   occasion or several occasions?



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 1                   THE UNITED STATES DISTRICT COURT

 2         NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 3   ________________________________

 4   RACHEL M. HUBBARD,

 5                Plaintiff,

 6           v.                                         Case No:

 7   GASPEREC ELBERTS CONSULTING, LLC,                  1:20-cv-06680

 8                Defendant.

 9   ________________________________

10                VIDEOTAPED DEPOSITION OF MEGAN ELBERTS

11   DATE:               Tuesday, May 18, 2021

12   TIME:               2:03 p.m.

13   REPORTED BY:       Danielle Sargis, CER-1017

14   JOB No.:            6121

15

16   Conducted by videoconference via the Remote Legal

17   platform

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 1                          A P P E A R A N C E S

 2   ON BEHALF OF PLAINTIFF:

 3          RACHEL M. HUBBARD, PRO SE

 4

 5   ON BEHALF OF DEFENDANT:

 6          VICTORIA VANDERSCHAAF, ESQUIRE

 7          Litchfield Cavo LLP

 8          303 West Madison Street, Suite 300

 9          Chicago, Illinois 60606

10          vanderschaaf@litchfieldcavo.com

11          (312)781-6686

12

13          KEARNEY W. KILENS, ESQUIRE

14          Litchfield Cavo LLP

15          303 West Madison Street, Suite 300

16          Chicago, Illinois 60606

17          kilens@litchfieldcavo.com

18          (312)781-6630

19

20   ALSO PRESENT:

21          Lance Zacker, Remote Legal

22          Laurie DePalma, Notary Public

23

24

25



                                     646-461-3400
 Case: 1:20-cv-06680 Document #: 61 Filed: 08/31/21 Page 23 of 29 PageID #:590


                             MEGAN ELBERTS - May 18, 2021                  20

 1          Q     Yeah.    Page 3.

 2          A     Okay.

 3          Q     Do you recognize this email?

 4          A     I do not.

 5          Q     Okay.    Ms. Elberts is that your email address

 6   in the CC on Page 3?

 7          A     Yes, it is.

 8          Q     Do you recognize the other people on this

 9   email?

10          A     Yes, I do.

11          Q     Okay.    So we have Russ Olsen, Lisa Gasperec

12   and Christi Davidson?

13          A     Yes.

14          Q     And Adam Merry?       Is this a typical budget are

15   -- before you secure a job don't -- didn't you and the

16   other project managers and Lisa share emails about what

17   the proposal will look like?

18          A     On occasion.

19          Q     Okay.    On this particular occasion, and I

20   understand that you say you don't recall it, but in this

21   project was I budgeted at a CADD Tech II rate?

22          A     It appears for budgeting purposes, like you

23   said, a CADD Tech II rate was used.

24          Q     Was this a clerical error, Ms. Elberts?

25          A     I did not prepare this budget.           So I can't



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                                                                            1

 1                 OF THE UNITED STATES DISTRICT COURT

 2                     NORTHERN DISTRICT OF ILLINOIS

 3                              EASTERN DIVISION

 4   ________________________________

 5   RACHEL M. HUBBARD,

 6                Plaintiff,

 7           v.                                         Case No:

 8   GASPEREC ELBERTS CONSULTING, LLC,                  1:20-cv-06680

 9                Defendant.

10   ________________________________

11                VIDEOTAPED DEPOSITION OF MARTIN BURKE

12   DATE:               Thursday, June 24, 2021

13   TIME:               2:35 p.m.

14   REPORTED BY:       Lisa Ann Lopez, CER-1178

15   JOB No.:            6458

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17   Conducted by videoconference via the Remote Legal

18   platform

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                                   646-461-3400
 Case: 1:20-cv-06680 Document #: 61 Filed: 08/31/21 Page 25 of 29 PageID #:592


                                                                            2

 1                          A P P E A R A N C E S

 2   ON BEHALF OF PLAINTIFF:

 3          RACHEL M. HUBBARD, PRO SE

 4

 5   ON BEHALF OF DEFENDANT:

 6          VICTORIA VANDERSCHAAF, ESQUIRE

 7          Litchfield Cavo LLP

 8          303 West Madison Street, Suite 300

 9          Chicago, Illinois 60606

10          vanderschaaf@litchfieldcavo.com

11          (312)781-6686

12

13          STEPHAN BERRIOS, ESQUIRE

14          Litchfield Cavo LLP

15          150 North Michigan Avenue, Suite 3300

16          Chicago, Illinois 60601

17          (312)894-3200

18

19   ALSO PRESENT:

20          Nick West, Remote Legal

21

22

23

24

25



                                   646-461-3400
 Case: 1:20-cv-06680 Document #: 61 Filed: 08/31/21 Page 26 of 29 PageID #:593


                         MARTIN BURKE - June 24, 2021                       7

 1   BY MS. HUBBARD:

 2          Q     Yes.    Good afternoon, and thank you, everyone.

 3   Thank you, Mr. Burke, for being in attendance today.

 4   Can you please state for the record, your title and

 5   relationship to Mackie Consultants, LLC?

 6          A     I am President of Mackie Consultants.

 7          Q     Thank you.     And can you tell me how many years

 8   Mackie Consultants LLC has been in existence?

 9   Approximately even?

10          A     Mackie Consultants LLC has been in existence

11   for 10 years.

12          Q     Understood.      Can you tell me sir, do you

13   recall me?      Rachel Hubbard?

14          A     Yes, I do know who you are.

15          Q     Thank you.     And do you have knowledge of --

16   I'm sorry -- are you aware of the complaint that was

17   filed in this matter against Gasperec Elberts?

18          A     Only through the subpoena that I received.

19          Q     So are you saying you were unaware of a legal

20   matter involving Rachel Hubbard and Gasperec Elberts

21   prior to receiving a subpoena?

22                       MR. BERRIOS:     Objection.     Misstates the

23   testimony.

24   BY MS. HUBBARD:

25          Q     May I ask Mr. Burke, when did you become aware



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                          MARTIN BURKE - June 24, 2021                      8

 1   -- I'm sorry.       Did you have any other knowledge of a

 2   legal dispute between Rachel Hubbard and Gasperec

 3   Elberts prior to receiving a subpoena?

 4           A    Yes.

 5           Q    And how did you receive that knowledge or

 6   become aware?

 7           A    Through a conversation with Megan Elberts.

 8           Q    Okay.    And who is Megan Elberts to you?

 9           A    She is my second cousin.

10           Q    And let me ask, do you recall, Mr. Burke, of

11   conducting an interview with me and Megan Elberts and

12   Russell Olsen?

13           A    I do not recall.

14           Q    Okay.

15           A    Do you recall on any interviews that occurred

16   involving GEC employees?

17                        MR. BERRIOS:    Objection.     Form.

18   BY MS. HUBBARD:

19           Q    Do you recall any interviews with any GEC

20   employees in 2017?

21                        MR. BERRIOS:    Objection.     Form.

22   BY MS. HUBBARD:

23           Q    Do you recall Mr. Burke, being involved in any

24   of the hiring of any GEC employees in 2017, 2018, or

25   2019?



                                   646-461-3400
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Miller presented undisputed evidence that Raytheon made erroneous statements in its EEOC

position statement.” (In re Estate of Wallen, 262 Ill. App. 3d 61, 68–69, 633 N.E.2d 1350, 1357

(1994) Illinois courts have held that the failure to follow corporate formalities, even a non-

shareholder, who is not an officer, director, or employee of a corporation, may be found

individually liable for a judgment against a corporation where the non-shareholder exercises only

equitable ownership and control over a corporation; the non-shareholder is liable even if there

were no allegations that the non-shareholder engaged in any wrongdoing. (John Buckley and

Mama Grimm’s Bakery, Inc. v. Haithham Abuzir, 2014 IL App (1st) 130469 (April 10, 2014))




        WHEREFORE, for all the reasons contained herein, Plaintiff pro se, Rachel M. Hubbard,

respectfully requests that this Court give thoughtful consideration, in whole and in part, and grant

Plaintiff’s Motion For Leave to Amend Complaint and Add Parties.



DATED: August 31, 2021

1:00 PM

Respectfully Submitted by:


/S/ Rachel M. Hubbard__________
Rachel M. Hubbard, Plaintiff pro se

Rachel M. Hubbard
615 W. Talcott Road, #1
Park Ridge, Illinois 60068
847-361-8807
Hubbard2000@att.net



                                      Case No.: 1:20-cv-06680
   Case: 1:20-cv-06680 Document #: 61 Filed: 08/31/21 Page 29 of 29 PageID #:596




                                CERTIFICATE OF SERVICE

I hereby certify that on August 31, 2021, Plaintiff pro se served upon GEC her Response to
Defendant’s Response in Opposition to Plaintiff Motion For Leave to Amend Complaint and
Add Parties via email at the following addresses. Defendant has asked Plaintiff not to provide
paper copies due to Covid-19 conditions.




Ms. Victoria Vanderschaaf
vanderschaaf@litchfieldcavo.com

Ms. Kearney Kilens
kilens@litchfieldcavo.com




DATED: August 31, 2021

1:00 PM


Respectfully Submitted by:


/S/ Rachel M. Hubbard__________
Rachel M. Hubbard, Plaintiff pro se


Rachel M. Hubbard
615 W. Talcott Road, #1
Park Ridge, Illinois 60068
847-361-8807
Hubbard2000@att.net




                                      Case No.: 1:20-cv-06680
